Case 1:04-cv-01135-.]DT-STA Document 37 Filed 08/30/05 Page 1 of 2 Page|D 38

 

 

United States District Court Q<‘# y 373
WESTERN DISTRICT oF TENNESSEE @C",/;/% '~"‘/:’f@

Eastem Division ”é::if<@§§?¢'?/
EVANS STURDIVANT JUDGMENT lN A ClVlL CASE
v,
PICTSWEET FRozEN FooDs cASE NUMBER; 04-1135-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 08/29/05, Defendant's motion for summary judgment is
GRANTED and this case is hereby D|SM|SSED.

APPROVED:

OM/MA QMC

U[@§F§ D ToDD
TEI) STATES DISTRICT JUDGE

THoMAS i\'/i'. GoULi)

 

 

cLERK
gi YOIO BY; C jig/aj
DAJ*E DEPUTY cLERK

This document entered on the docket sheet in compliance

with Ruie 53 and/or 79(3) irch on F`i -O i ~ 615 .

t`) sATElesTRICT oURT - WESTER D"ISRICT oF TNNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in

case 1:04-CV-01135 Was distributed by faX, mail, or direct printing on

September 1, 2005 to the parties listed.

 

Evans Sturdivant
106 Bunch St.
BroWnsville, TN 38012

Miehael L. Weinman
WEINMAN & ASSOCIATES
114 S. Liberty St.

Jackson7 TN 3 8302

N. Victoria Holladay

FORD & HARRISON, LLP
795 Ridge Lake Blvd.

Ste. 300

Memphis7 TN 38138--137

Honorable J ames Todd
US DISTRICT COURT

